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                       EXHIBIT A
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                       [English Translation for Reference Purpose Only]


                                                                             February 26, 2020


   To whom it may concern:


                     Rehabilitation Debtor: MtGox Co., Ltd.
                     Rehabilitation Trustee: Nobuaki Kobayashi, Attorney-at-law


            Announcement of Order to Set the Period of Special Investigation

   On January 24, 2019, the rehabilitation trustee determined acceptance and rejection of the
   rehabilitation claims other than rehabilitation claims of MTGOX bitcoin exchange users
   regarding refund of cash or cryptocurrency against MTGOX (the “Exchange-Related
   Rehabilitation Claims”), and on March 15, 2019, the rehabilitation trustee determined the
   acceptance and rejections of the Exchange-Related Rehabilitation Claims. However,
   the rehabilitation trustee is still receiving a certain number of new proofs of rehabilitation
   claims from creditors by post after the above acceptance and rejection.


   Against this background, on February 14, 2020, the Tokyo District Court issued an order
   to set a period for conducting special investigation to examine new proofs of rehabilitation
   claims and submission deadline for the rehabilitation trustee of the statement of
   acceptance or rejection for the special investigation.


                                    [Content of the order]

   1. Submission deadline for the rehabilitation trustee’s statement of acceptance or
      rejection:
      March 11, 2020
   2. Period of special investigation to examine proofs of rehabilitation claims:
      From March 17, 2020 to March 18, 2020



                                                                           [End of document]
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                                                          令和 2 年 2 月 26 日


   関係者各位


                                          再生債務者     株式会社 MTGOX
                                          再生管財人     弁護士 小 林         信      明


                      特別調査期間の決定に関するお知らせ


    再生管財人は、平成 31 年 1 月 24 日に、MTGOX のビットコイン取引所のユーザ
   ーの金銭又は仮想通貨の返還に関する再生債権（以下「取引所関係再生債権」と
   いいます。）以外の再生債権について、同年 3 月 15 日に取引所関係再生債権に
   ついて、それぞれ認否を行いましたが、上記認否後においても、債権者の皆様か
   ら一定数の再生債権届出書を受領しております。
    この状況を受けて、令和 2 年 2 月 14 日、東京地方裁判所により、再生債権の
   特別調査期間及び再生管財人が特別調査用の再生債権認否書を提出する期限を
   下記のとおり定める決定がなされましたのでお知らせいたします。


                                      記



     1. 特別調査用の認否書の提出期限 令和 2 年 3 月 11 日
     2. 再生債権の特別調査期間    令和 2 年 3 月 17 日から
                       令和 2 年 3 月 18 日まで



                                                                        以上
